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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION

In re Real Estate Commission Litigation                      MDL-__________________




  MOTION OF PLAINTIFFS FOR TRANSFER OF ACTIONS TO THE WESTERN
DISTRICT OF MISSOURI PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED OR
               CONSOLIDATED PRETRIAL PROCEEDINGS

       Plaintiffs Don Gibson, Lauren Criss, and John Meiners in Gibson et al. v. National

Association of Realtors et al. in the W.D. Missouri, and Plaintiff Daniel Umpa in Umpa v.

National Association of Realtors et al. in the W.D. Missouri, respectfully move this Panel,

pursuant to 28 U.S.C. § 1407, for transfer of the actions listed on the Schedule of Actions

(attached as Exhibit 1) to the United States District Court for the Western District of Missouri for

coordinated pretrial proceedings. For the reasons provided in the attached brief in support,

Gibson and Umpa Plaintiffs respectfully request that the Panel grant the motion.



Dated: December 27, 2023

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